Case 3:12-cv-00881-NJR-RJD Document 505 Filed 02/01/18 Page 1 of 3 Page ID #11713



                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS


  UNITED STATES, et al.,                           )
  ex rel. JAMES GARBE,                             )
                                                   )
        Plaintiffs,                                )
                                                   )
  vs.                                              )    No. 12-CV-881-NJR
                                                   )
  KMART CORPORATION,                               )
                                                   )
           Defendant.                              )


              NOTICE OF SETTLEMENT AND AGREED MOTION FOR DISMISSAL

           Pursuant to the federal False Claims Act (FCA), 31 U.S.C. § 3729, et seq., parallel state

  FCA statutes, and Fed. R. Civ. P. 41(a)(2), the United States hereby notifies the Court that the

  United States, the Medicaid Participating States, the California Insurance Commissioner, the

  Illinois Attorney General, Relator James Garbe acting through his guardian Carl Ireland, and

  Defendant Kmart Corporation have reached a settlement of the claims against Defendant in the

  above-captioned case. Subject to Defendant’s compliance with the terms of the federal and state

  settlement agreements executed by the parties, including payments over time to resolve the

  “Covered Conduct,” as the term is defined in the federal and state settlement agreements: (1) the

  United States agrees to a dismissal with prejudice as to the Covered Conduct released in the

  federal settlement agreement and without prejudice as to all other claims; (2) the Participating

  States agree to a dismissal with prejudice as to the Covered Conduct released in the individual

  state settlement agreements and without prejudice as to all other claims; (3) the California

  Insurance Commissioner and Illinois Attorney General agree to a dismissal of their claims with
Case 3:12-cv-00881-NJR-RJD Document 505 Filed 02/01/18 Page 2 of 3 Page ID #11714



  prejudice as set forth in the respective settlement agreements with those jurisdictions; and (4)

  Relator agrees to a dismissal of all claims in this action with prejudice.

         The Medicaid Participating States, the California Insurance Commissioner, the Illinois

  Attorney General, Relator, and Defendant join the United States in requesting that the Court

  enter the submitted Proposed Order of dismissal.

                                                        Respectfully submitted,

                                                        CHAD A. READLER
                                                        Acting Assistant Attorney General
                                                        Civil Division

                                                        DONALD S. BOYCE
                                                        United States Attorney

                                                        /s/ Gerald M. Burke
                                                        GERALD M. BURKE
                                                        Assistant U.S. Attorney
                                                        9 Executive Drive
                                                        Fairview Heights, IL 62208
                                                        (618) 628-3700
                                                        (618) 622-3810 - Fax
                                                        Gerald.Burke@usdoj.gov

                                                        MICHAEL G. GRANSTON
                                                        DANIEL R. ANDERSON
                                                        ALLIE PANG
                                                        Attorneys, Civil Division
                                                        United States Dept. of Justice
                                                        175 N St., N.E., Room 9.105
                                                        Washington, D.C. 20002
                                                        (202) 514-6846
                                                        Allie.Pang@usdoj.gov

                                                        Attorneys for the United States




                                                    2
Case 3:12-cv-00881-NJR-RJD Document 505 Filed 02/01/18 Page 3 of 3 Page ID #11715



                                             Certificate of Service

          I hereby certify that on February 1, 2018, I electronically filed the foregoing with the Clerk of Court

  for the United States District Court for the Southern District of Illinois by using the CM/ECF system.

          Participants in the case who are registered CM/ECF users will be served by the CM/ECF system.


                                                             /s/ Gerald M. Burke
                                                             GERALD M. BURKE
                                                             Assistant U.S. Attorney




                                                        3
